Case 2:23-cv-02187-MAK Document 13 Filed 06/29/23 Page 1 of 1

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ARTIS C. CARROLL, JR. : CIVIL ACTION
Vv. : NO. 23-2187
MARY WALK :
ORDER

AND NOW, this 29" day of June 2023, consistent with our Congressionally mandated
obligations of screening an incarcerated person’s Complaint proceeding without paying the filing
fees, and finding Plaintiff is not a “John Doe” but is instead serial litigant Artis C. Carroll, Jr. who
has filed numerous cases before us including at least two earlier cases dismissed upon screening
as frivolous, and further finding the present claims in this case are again frivolous, it is
ORDERED:

1. We DISMISS the Complaint with prejudice as the allegations are frivolous and
Plaintiff again cannot state a claim against the named state court staff member Defendant;

2. We amend the caption as above to reflect the known identity of Artis C. Carroll,
Jr. as he offers no grounds to proceed under a John Doe designation while identifying himself in
his allegations;

3. We find substantial basis in at least three cases (including this case) dismissed as
frivolous for a pre-filing injunction barring Mr. Carroll from filing a civil action in federal court
as an incarcerated person unless he: (1) pays the full filing fee upon filing the civil case, or (2) he

is under imminent danger of serious physical injury consistent with 28 U.S.C. § 1915(g); and,

4, The Clerk of Court shall CLOSE this ERO

KEARNEY} J.

 
